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Daniel K. Brough (Utah Bar No. 10283)
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Attorneys for Defendants William Bowser, Noah Corporation, and
Gabriel Management Corporation


      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                 CENTRAL DIVISION


ROSA DiTUCCI, an individual; STEVEN R.             NOTICE OF APPEARANCE OF
LaROZA, an individual; DEBRA A. LaROZA,                    COUNSEL
an individual; BRUCE I. ROSE, an individual;
MAUREEN A. ROSE, an individual;
SANFORD ROBERTS, an individual;                 Case No. 2:19-CV-00277-DBP
HELAINE B. ROBERTS, an individual;
RUSSELL E. HERTRICH, an individual;             District Judge Clark Waddoups
FRED JACOB, an individual; EDWARD A.
HENNESSEY, an individual, PAMELA A.
CAPLINGER, an individual, on behalf of the
ESTATE OF JAMES M. CAPLINGER, JR.;
RUSSELL E. HERTRICH REVOCABLE
TRUST; SANFORD ROBERTS REVOCABLE
TRUST; HELAINE B. ROBERTS
REVOCABLE TRUST; THE FRED JACOB
LIVING TRUST; EDWARD A. HENNESSY
2001 REVOCABLE TRUST; CAMAC, INC., a
Kansas corporation; and BLUSH PROPERTY,
LLC, a Florida limited liability company;

       Plaintiffs,

vs.

CHRISTOPHER J. ASHBY, an individual;
JOHN D. HAMRICK, an individual; JORDAN
S. NELSON, an individual; WILLIAM
BOWSER, an individual; SCOTT B.
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LeFEVRE, an individual; CHRIS BROWN, an
individual; SCOTT RUTHERFORD, an
individual; ROCKWELL DEBT FREE
PROPERTIES, a Utah corporation;
ROCKWELL TIC, INC., a Utah corporation;
NOAH CORPORATION, a Utah corporation;
EDMUND AND WHEELER, a New
Hampshire corporation; ROCKWELL
INDIANAPOLIS, LLC, a Utah limited liability
company; GABRIEL MANAGEMENT
CORPORATION, a Utah corporation;
LeFEVRE MANAGEMENT, INC. d/b/a
CADENCE PROPERTY ADVISORS d/b/a
CADENCE PROPERTY ADMINISTRATORS,
a Utah corporation; JOHN DOES 1–X, and
ROE CORPORATIONS I–X,

      Defendants.


       Please take notice that on this 28th day of May, 2019, Daniel K. Brough and the law firm

of Bennett Tueller Johnson & Deere hereby appear as counsel on behalf of Defendants William

Bowser, Noah Corporation, and Gabriel Management Corporation (collectively, “Defendants”).

All papers, filings, pleadings, correspondence, and other documents and information related to

the above-captioned proceeding should be served upon Defendants’ counsel utilizing the

following contact information:

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DATED this 28th day of May, 2019.

                                    BENNETT TUELLER JOHNSON & DEERE


                                    /s/ Daniel K. Brough
                                    Daniel K. Brough

                                    Attorneys for Defendants William Bowser, Noah
                                    Corporation, and Gabriel Management
                                    Corporation




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                               CERTIFICATE OF SERVICE

       I certify that on the 28th day of May, 2019, I caused the foregoing NOTICE OF

APPEARANCE OF COUNSEL to be electronically filed utilizing the Court’s CM/ECF

system, which delivered immediate notice of the same to the following:

       Wesley D. Felix
       Andrew G. Deiss
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                                                   /s/ Daniel K. Brough




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